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13                             UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                           Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of           DECLARATION OF C
   themselves and all others similarly situated,            A     H          IN
17               Plaintiffs,
                                                            SUPPORT OF PLAINTIFFS’
                                                            MOTIONS FOR PRELIMINARY
18        v.                                                INJUNCTION AND PROVISIONAL
                                                            CLASS CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316934 3]
            DECLARATION OF C       A    H          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                    PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, C      A      H          , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify.
 4                 2.     I am incarcerated in federal prison and am incarcerated at FCI Dublin from
 5 2018 to present. In the future BOP may transfer me to other BOP facilities including but at
 6 any point I could be transferred back to FCI Dublin.
 7                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial risk of imminent serious harm
10 from sexual assault, harassment, and retaliation from staff.
11                 4.     While at FCI Dublin, I experienced sexual abuse by Officer Smith. Officer
12 Smith escalated from groping me, touching my private areas, and eventually raped me
13 vaginally. I had to dissociate to get through it and felt I had no choice. He told me nothing
14 would happen if I told on him. It was horrible. As a result of his abuse and the ongoing
15 treatment I have experienced at FCI Dublin I have been diagnosed with psychosis, bipolar
16 disorder, PTSD, anxiety, depression, and mood swings. I had been on medications for
17 these conditions, but they were abruptly stopped in December of 2022 when the
18 psychologist told me I did not need my meds, and to take magnesia instead. The only
19 thing I was left on was a very low dose of Prozac that does not help me enough. At one
20 point they tried to put me on Trazodone, but it made me sleep all the time and also jittery
21 and I couldn’t take it due to the side effects. The person who prescribed me the Trazodone
22 was not a psychiatrist and I asked to speak to a psychiatrist, but they said no. I still have
23 not seen a psychiatrist and still am only on the low dose of Prozac.
24                 5.     As a result of my PTSD from the abuse and retaliation I have endured, and
25 being deprived of medications, I feel like I am drowning and cannot get help here. I feel
26 very unstable and unwell, am having memory loss and blackouts. I have heard that the
27 medical unit is forcing people to be on medications when they do not need them. I talked
28 to Lt. Putnam to try to get an appointment from a psychologist, and he said, “I’ll help you
     [4316934 3]                                            2
            DECLARATION OF C       A    H          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 next week,” but never followed up. I was able to talk to the psychologist, Dr. M, once
 2 about the abuse I have suffered, and I tried to open up but then she never scheduled me for
 3 any follow-up and I have not seen her since. After what they have done with my
 4 medications it is hard for me to trust the mental health staff here.
 5                 6.   Since being taken off my medications, I have struggled with suicidal
 6 thoughts, and no one helps me. Instead, Officers make comments to trigger me and set me
 7 off. Officer Wilson often makes comments to me to make me upset and I avoid leaving
 8 my room, feeling that the officers are always watching for some reason to give me another
 9 disciplinary write-up in retaliation for reporting my abuse and meeting with counsel, and
10 feel I have to try to medicate myself just to get through all of this. I continue to experience
11 retaliation by other officers who repeatedly write me up for insolence and for not leaving
12 my room when I feel unwell.
13                 7.   In June 2023 I became suicidal. I was cutting my wrists while sitting on the
14 floor of my room when officers saw me. Instead of offering me help or calmly engaging
15 as I was obviously in distress, the Lt. screamed and yelled at me. I dropped the razor but
16 was too weak to move and felt frozen sitting on the floor bleeding. Instead of helping me
17 the officers pepper sprayed me, dragged me across the floor, and handcuffed my still
18 bleeding wrists, before throwing me in a wheelchair. While they were dragging me I heard
19 the Lt. say not to drag me in front of the cameras. Other people on my unit saw this
20 happen. They left the handcuffs on while they took me to medical. At medical there were
21 no actual doctors and BOP staff did not seem to know what to do. They tried to accuse me
22 of being intoxicated, which I was not, and I just kept yelling that I needed help. They put
23 me on suicide watch overnight but then put me back in my room the next morning. They
24 even wrote me up two shots (disciplinary reports) saying I violated the rules for attempting
25 suicide but after another staff member intervened, they dropped the shots. It felt
26 dehumanizing to be blamed for having a mental health crisis when all I needed was help. I
27 am so depressed now, and I do not feel I have the energy to fight anymore. I just try to
28 avoid people and get through each day.
     [4316934 3]                                       3
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 1                 8.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
 2 by staff and retaliate against people who do report. I was placed in the SHU after reporting
 3 my abuse and it was a horrible experience. Since I reported and started meeting with
 4 attorneys, officers constantly watch me and write me up for any minor thing I do, making
 5 me feel targeted and nervous all the time. Since meeting with my lawyer, I have faced
 6 additional retaliation and feel I am being targeted for exercising my legal rights. I have
 7 begged not to be sent to the SHU again, but the officers just tell me sarcastically to call my
 8 lawyer in response. I am so worried they are looking for reasons to send me to the SHU
 9 that I recently had a panic attack when talking to an officer. Officers have also read my
10 confidential legal mail, which I know because I receive it without an envelope and then
11 they just tell me to call my lawyer. Knowing that the officers will treat me this way makes
12 me dread the embarrassment and humiliation I will feel after other meetings with legal
13 counsel and makes me afraid to engage with my attorney.
14                 9.   There is little to no medical care available to survivors of sexual abuse and
15 assault at FCI Dublin. There is currently no medical doctor at the facility. In addition to
16 my mental health conditions, I have epilepsy. And along with being taken off my psych
17 meds in December 2022, I was taken off my epilepsy medications at the same time. I had
18 been on epilepsy medication for many years. Soon after being taken off the epilepsy
19 medications, I had my first seizure in two years. I continue to have seizures, but I have
20 stopped reporting them to medical because the staff there did not believe they were a real
21 medical emergency and thought I did not need my medication, offering to prescribe me
22 magnesia. Because of my seizures, I lost a tooth and continue to injure my mouth
23 whenever I have a seizure, but I have been unable to get any dental care. Without my
24 epilepsy medication, I feel shaky, and I worry all the time about having seizures. It is
25 embarrassing to have a seizure, as I do not have control of my body and the staff do not
26 believe they are real. The medical care overall is inadequate. When I request medical
27 appointments, my requests are ignored. They throw away my sick calls, tell me to do a
28 new one, and say they need a medical emergency to be able to see people. The attitude in
     [4316934 3]                                        4
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 1 the medical unit is, “don’t come here unless you’re dying.” I have seen other incarcerated
 2 people faint or bleed from their eyes and still be unable to get medical care.
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    [4316934 3]                                   5
           DECLARATION OF C       A    H          IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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